Case 1:11-cr-00503-JMS        Document 442        Filed 12/19/16     Page 1 of 12 PageID.5625



                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,                             CR. NO. 11-00503 JMS (03)
                                                       CIV. NO. 16-00543 JMS-KJM
                       Plaintiff,
                                                       ORDER: (1) DENYING
        vs.                                            DEFENDANT’S MOTION UNDER
                                                       28 U.S.C. § 2255 TO VACATE,
 PILIALOHA K. TEVES (03),                              SET ASIDE, OR CORRECT
                                                       SENTENCE BY A PERSON IN
                       Defendant.                      FEDERAL CUSTODY, ECF NO.
                                                       433; AND (2) DENYING A
                                                       CERTIFICATE OF
                                                       APPEALABILITY

 ORDER: (1) DENYING DEFENDANT’S MOTION UNDER 28 U.S.C. § 2255
 TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A PERSON IN
      FEDERAL CUSTODY, ECF NO. 433; AND (2) DENYING A
                CERTIFICATE OF APPEALABILITY

                                    I. INTRODUCTION

               On October 22, 2013, after a three-week jury trial, Defendants

 Pilialoha K. Teves (“Teves”) and Mahealani Ventura-Oliver (“Ventura-Oliver”)

 (collectively, “Defendants”) were found guilty of multiple counts relating to a

 fraudulent debt assistance program as charged in a September 1, 2011 Superseding

 Indictment (“SI”). 1 On February 21, 2014, the court entered a judgment

 sentencing Teves to a term of 42 months incarceration, imposed a restitution

 obligation, and ordered that she forfeit all interest in specific properties. ECF No.

        1
          Although the SI charged additional Defendants, they were no longer part of this action
 when trial commenced.
Case 1:11-cr-00503-JMS     Document 442        Filed 12/19/16   Page 2 of 12 PageID.5626



 307. Currently before the court is Teves’ Motion Under 28 U.S.C. § 2255 to

 Vacate, Set Aside or Correct Sentence By a Person in Federal Custody (“§ 2255

 Motion”). ECF No. 433.

              Teves’ § 2255 Motion alleges that she received ineffective assistance

 of counsel as to the forfeiture order and seeks a reduction of the forfeiture money

 judgment. She neither challenges the validity of her conviction or sentence nor

 seeks release from custody. For the reasons discussed below, the § 2255 Motion

 and a Certificate of Appealability are DENIED.

                                II. BACKGROUND

              Teves and four co-defendants were charged with conspiracy and mail

 fraud offenses arising out of their promotion and operation of a debt elimination

 scheme. Defendants were associated with groups based in Maui known as the

 “Hawaiiloa Foundation,” “Ko Hawaii Pae Aina,” and “The Registry” (collectively,

 “HLF”), and they allegedly conducted seminars on Maui offering to teach

 individuals about Hawaiian history and property rights. They also marketed a debt

 assistance program claiming to eliminate mortgage, credit card, and other debt in

 exchange for a fee. Through HLF, Defendants offered to provide individuals

 “bonds” and other legal documents to pay their debts by drawing on fictitious

 accounts purportedly established for each individual at his or her birth and

 maintained by the United States Treasury and the State of Hawaii. Defendants

                                           2
Case 1:11-cr-00503-JMS      Document 442         Filed 12/19/16   Page 3 of 12 PageID.5627



 caused these individuals to send these “bonds” and other legal documents to the

 United States Treasury, the Federal Reserve Bank, the State of Hawaii, and their

 creditors as a purported means of discharging their debts and forestalling mortgage

 foreclosures and debt collection efforts. HLF obtained approximately $468,000

 from these individuals. The SI sought entry of a personal forfeiture money

 judgment in that amount, and the forfeiture of bank accounts, cash, collectible

 coins, and vehicles that were proceeds of the offenses.

              Following trial, Teves was found guilty of twelve counts of mail

 fraud, and acquitted of three other counts of mail fraud (for events occurring prior

 to July 9, 2008). Verdict Form, ECF No. 243. On December 17, 2013, this court

 entered a preliminary order of forfeiture against Teves that provided for the entry

 of a money judgment of $468,000. ECF No. 281. At the February 10-11, 2014

 sentencing hearing, because Teves was acquitted of counts relating to conduct

 prior to July 9, 2008, the court reduced the amount in the preliminary forfeiture

 order to $369,622.01, reflecting the amount of proceeds received by HLF during

 Teves’ participation in the conspiracy. ECF No. 303. Judgment was entered on

 February 21, 2014, sentencing Teves to a term of 42 months incarceration,

 imposing a restitution obligation, ordering that she forfeit all interest in specific

 properties, and ordering that the final order of forfeiture include a money judgment

 of $369,622.01. ECF No. 307.

                                             3
Case 1:11-cr-00503-JMS        Document 442         Filed 12/19/16   Page 4 of 12 PageID.5628



               Following Teves’ sentencing, Ventura-Oliver contested the forfeiture

 allegations, and sought a reduction of the money judgment by the value of the

 assets seized. The seized assets had not been sold due to a stay in the execution of

 forfeiture pending direct appeals.2 ECF No. 383. The Government, having agreed

 that the value of the seized assets was $195,472, sought a money judgment of

 $272,528, which represented the $486,000 derived from the scheme, less the

 $195,472 value of the other seized assets as proceeds of the scheme. On June 13,

 2014, the court entered a preliminary order of forfeiture against Ventura-Oliver

 that provided for a money judgment of $272,528. ECF No. 352.

               On January 23, 2015, the court entered a final order of forfeiture

 against Teves, acknowledging that the money judgment against Ventura-Oliver

 was reduced by the value of the seized property, but noting that the preliminary

 order of forfeiture against Teves had become final at the time of sentencing and

 therefore, the court lacked jurisdiction to grant a similar reduction. ECF No. 416.

               In her direct appeal, Teves challenged both her conviction and the

 court’s failure to reduce the money judgment by the value of the seized assets. On

 October 15, 2015, the Ninth Circuit affirmed Teves’ judgment in all respects. See

 Teves, 621 F. App’x 486, 487 (9th Cir. 2015). The Ninth Circuit noted that

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           Both Defendants appealed their convictions. On October 30, 2015, the Ninth Circuit
 affirmed Teves’ judgment. United States v. Teves, 621 F. App’x 486 (9th Cir. 2015) (mem.).
 Ventura-Oliver’s conviction was affirmed on November 7, 2016. United States v. Ventura-
 Oliver, 2016 WL 6585121 (9th Cir. Nov. 7, 2016) (mem.).
                                               4
Case 1:11-cr-00503-JMS      Document 442        Filed 12/19/16   Page 5 of 12 PageID.5629



 imposition of criminal forfeiture is “subject only to statutory and constitutional

 limits,” and that under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), Teves

 must forfeit “the proceeds of her criminal activity.” Id. (citing United States v.

 Newman, 659 F.3d 1235, 1240 (9th Cir. 2011)). In affirming Teves’ judgment the

 Ninth Circuit explained:

              Teves cites no case that requires a district court to order
              an offset against a personal money judgment by the value
              of the seized property before the property is sold. In the
              absence of such controlling authority, we conclude that
              the district court did not plainly err by failing to order the
              offset. In the event that Teves’ personal money judgment
              is not offset by the proceeds of the forfeiture sale, and the
              Government attempts to collect in total more than the
              facial amount, Teves will be free to raise the challenge at
              that time.

 Id. at 487-88.

                            III. STANDARD OF REVIEW

              The court’s review of Teves’ § 2255 Motion is governed by 28 U.S.C.

 § 2255(a):

              A prisoner in custody under sentence of a court
              established by Act of Congress claiming the right to be
              released upon the ground that the sentence was imposed
              in violation of the Constitution or laws of the United
              States, or that the court was without jurisdiction to
              impose such sentence, or that the sentence was in excess
              of the maximum authorized by law, or is otherwise
              subject to collateral attack, may move the court which
              imposed the sentence to vacate, set aside or correct the
              sentence.

                                            5
Case 1:11-cr-00503-JMS     Document 442         Filed 12/19/16   Page 6 of 12 PageID.5630



              A court should hold an evidentiary hearing on a § 2255 motion

 “unless the files and records of the case conclusively show that the prisoner is

 entitled to no relief.” 28 U.S.C. § 2255(b). “In determining whether a hearing and

 findings of fact and conclusions of law are required, ‘[t]he standard essentially is

 whether the movant has made specific factual allegations that, if true, state a claim

 on which relief could be granted.’” United States v. Withers, 638 F.3d 1055, 1062

 (9th Cir. 2010) (quoting United States v. Schaflander, 743 F.2d 714, 717 (9th Cir.

 1984)). “Thus, the district court’s decision that [the petitioner’s] ineffective

 assistance claim did not warrant an evidentiary hearing [is] correct if his

 allegations, when viewed against the record, do not state a claim for relief or are so

 palpably incredible or patently frivolous as to warrant summary dismissal.” United

 States v. Leonti, 326 F.3d 1111, 1116 (9th Cir. 2003) (quoting Schaflander, 743

 F.2d at 717). Conclusory statements in a § 2255 motion are insufficient to require

 a hearing. United States v. Johnson, 988 F.2d 941, 945 (9th Cir. 1993).

              Because the court concludes that the issues in Teves’ § 2255 Motion

 can conclusively be decided on the basis of the existing record, the court will not

 hold an evidentiary hearing.

                                  IV. DISCUSSION

              Teves filed the instant § 2255 Motion challenging the forfeiture order

 and money judgment. Specfically, Teves alleges that she received ineffective

                                            6
Case 1:11-cr-00503-JMS      Document 442        Filed 12/19/16   Page 7 of 12 PageID.5631



 assistance when counsel: (1) “fail[ed] to object to forfeiture of a personal money

 judgment;” and (2) “fail[ed] to request the amount of the personal money judgment

 be offset by the value of the seized property.” § 2255 Motion at PageID ## 5584-

 85, ECF No. 433-1.

 A.    Teves’ Claim Fails Under § 2255

              Teves’ challenge to the forfeiture order and money judgment is not

 cognizable under § 2255. United States v. Kramer, 195 F.3d 1129 (9th Cir. 1999),

 determined that “by its plain terms, § 2255 is available only to defendants who are

 in custody and claiming the right to be released. It cannot be used solely to

 challenge a restitution order.” Id. at 1130. That is “[c]laims seeking release from

 custody can be brought under § 2255; claims seeking other relief cannot.” United

 States v. Thiele, 314 F.3d 399, 402 (9th Cir. 2002). Thus, a “forfeiture claim is not

 a cognizable § 2255 claim.” United States v. Finze, 428 F. App’x 672, 677 (9th

 Cir. 2011). And even when “couched as an ineffective assistance of counsel

 claim,” a challenge to a “prior order of forfeiture . . . is not cognizable through a

 § 2255 motion.” Oranga-Zuniga v. United States, 2014 WL 3056800, at *2 (W.D.

 Wash. July 7, 2014) (citing Thiele, 314 F.3d at 402).

              Here, by her own admission, Teves’ challenges only the forfeiture

 order and seeks a reduction of the money judgment. She does not challenge her




                                            7
Case 1:11-cr-00503-JMS     Document 442           Filed 12/19/16   Page 8 of 12 PageID.5632



 conviction or sentence, and does not seek release from custody. See § 2255

 Motion at PageID # 5584. Thus, her claim is not cognizable under § 2255.

 B.    Teves’ Claim Also Fails If Construed as a Writ of Error Coram Nobis

              In light of the foregoing, the court may (but is not required to) sua

 sponte construe the § 2255 Motion as a writ of error coram nobis. See Casas-

 Castrillon v. Wagner, 265 F. App’x 496, 497 (9th Cir. 2008) (“The district court

 was not obligated to construe, sue sponte, [a] habeas petition as a writ of error

 coram nobis.”); see also United States v. Kwan, 407 F.3d 1005, 1011 (9th Cir.

 2005), abrogated on other grounds by Padilla v. Kentucky, 559 U.S. 356, 373-74

 (2010) (“Federal courts have authority to issue the writ of coram nobis under the

 All Writs Act, 28 U.S.C. § 1651(a).”); Cepeda v. California, 2009 WL 959955, at

 *1 (E.D. Cal. Apr. 6, 2009) (“[T]he court may construe petitioner’s habeas petition

 as a request for a writ of coram nobis.”).

              Even construed as a petition for a writ of coram nobis, however,

 Teves’ claim fails. Coram nobis is an extraordinary remedy available only if

 Teves can show “error[ ] of the most fundamental character.” Matus-Leva v.

 United States, 287 F.3d 758, 760 (9th Cir. 2002). And a “writ of error coram nobis

 is a highly unusual remedy, available only to correct grave injustices in a narrow

 range of cases where no more conventional remedy is applicable.” United States v.

 Reidl, 496 F.3d 1003, 1005 (9th Cir. 2007). They “should be granted ‘only under

                                              8
Case 1:11-cr-00503-JMS     Document 442         Filed 12/19/16   Page 9 of 12 PageID.5633



 circumstances compelling such action to achieve justice.’” Id. (quoting United

 States v. Morgan, 346 U.S. 502 (1954)).

              Coram nobis relief may be granted only if Teves can satisfy all four of

 the following criteria:

              (1) a more usual remedy is not available; (2) valid
              reasons exist for not attacking the conviction earlier;
              (3) adverse consequences exist from the conviction
              sufficient to satisfy the case or controversy requirement
              of Article III; and (4) the error is of the most fundamental
              character.

 Id. at 1006 (quoting Hirabayashi v. United States, 828 F.2d 591, 604 (9th Cir.

 1987)). Teves clearly fails to meet the fourth criterion -- that is, she cannot

 demonstrate a fundamental error, such as ineffective assistance of counsel. See,

 e.g., Kwan, 407 F.3d at 1014 (collecting cases).

              To establish ineffective assistance of counsel, Teves must show that

 (1) counsel’s representation was deficient, and (2) she suffered prejudice as a

 result. Strickland v. Washington, 466 U.S. 668, 687 (1984). A court need not

 determine whether counsel’s performance was deficient before examining the

 prejudice suffered by the petitioner as a result of the alleged deficiencies. See id. at

 697. In other words, any deficiency that does not result in prejudice necessarily

 fails.

              Here, Teves has not met the second Strickland prong. Even assuming

 counsel’s representation was deficient (which the court does not find) for failing to
                                            9
Case 1:11-cr-00503-JMS      Document 442     Filed 12/19/16   Page 10 of 12 PageID.5634



 (1) object to forfeiture of a personal money judgment, and (2) request that the

 personal money judgment be offset by the value of the seized property, Teves has

 not shown actual prejudice. Teves alleges prejudice because she “is left with a

 forfeiture order in an amount greater than the proceeds of the offense of conviction

 . . . that contains no language to ensure” that an offset will be applied. § 2255

 Motion at 5-6.

                But Teves is mistaken. First, on Teves’ direct appeal, the Ninth

 Circuit determined that the court’s failure to reduce the money judgment by the

 value of the seized assets was not plain error and resulted in no prejudice to Teves

 at that time. Teves, 621 F. App’x at 487-88 (“The district court did not plainly err

 by failing to order the offset . . . and [should] the Government attempt[] to collect

 in total more than the facial amount, Teves will be free to raise the challenge at that

 time.”). Second, the forfeiture sale still has not yet occurred, and the government

 continues to represent that it will offset Teves’ personal money judgment by the

 proceeds from the forfeiture sale. See Govt’s Opp’n at 7 n.5, ECF No. 440 (“[T]he

 Ninth Circuit has just affirmed Co-defendant Ventura-Oliver’s judgment. When

 the mandate in that case issues, the government intends to sell the seized items.

 Teves’ money judgment will be reduced at that time by the amounts obtained by

 the sale.”).




                                           10
Case 1:11-cr-00503-JMS         Document 442        Filed 12/19/16      Page 11 of 12 PageID.5635



                Given the Ninth Circuit’s determination of no plain error by the court

 and recognition that Teves was not prejudiced by the money judgment prior to the

 forfeiture sale, and the absence to date of a forfeiture sale, the court finds that

 Teves has failed to show actual prejudice from counsel’s representation as to the

 forfeiture order and money judgment. 3 Thus, Teves cannot meet the fourth

 required criterion of fundamental error for coram nobis relief at this time.

                In short, a petition for a writ coram nobis is premature. If the

 government fails to reduce the money judgment by the proceeds from the forfeiture

 sale, Teves could seek coram nobis relief at that time.

 C.     Certificate of Appealability

                In dismissing the § 2255 Motion, the court must also address whether

 Teves should be granted a certificate of appealability (“COA”). See R. 11

 Governing Section 2255 Proceedings (providing that “[t]he district court must

 issue or deny a certificate of appealability when it enters a final order adverse to

 the applicant”). A COA may issue only if the petitioner “has made a substantial

 showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

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           The court is not holding, as a matter of law, that Teves’ failure to prevail under a plain
 error standard on direct appeal necessarily forecloses an ineffective assistance of counsel claim
 on collateral review. See James v. United States, 622 F. App’x 689 (9th Cir. 2015). Several
 courts have held or suggested, however, that Strickland’s prejudice prong is virtually identical to
 the plain error’s substantial rights’ prong. See Close v. United States, 679 F.3d 714, 720 (8th
 Cir. 2012); United States v. Rangel, 781 F.3d 736, 745-46 (4th Cir. 2015); Bennett v. United
 States, 663 F.3d 71, 89 (2d Cir. 2011); United States v. Saro, 24 F.3d 283, 287 (D.C. Cir. 1994);
 see also, United States v. Marcus, 560 U.S. 258, 262 (2010) (stating that in the ordinary case, the
 plain error requirement of affecting substantial rights requires a showing of prejudice).
                                                 11
Case 1:11-cr-00503-JMS      Document 442      Filed 12/19/16     Page 12 of 12 PageID.5636



 The court carefully reviewed all of Teves’ assertions and gave her every benefit by

 liberally construing them. Based on the above analysis, the court finds that

 reasonable jurists could not find the court’s rulings debatable.

 Accordingly, a COA is DENIED.

                                   V. CONCLUSION

               For the foregoing reasons, the court DENIES Teves’ § 2255 Motion

 and DENIES a COA. The Clerk of Court is directed to close the case file.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, December 19, 2016.




                                             /s/ J. Michael Seabright
                                            J. Michael Seabright
                                            Chief United States District Judge




 United States v. Teves, Cr. No. 11-00503 JMS (03); Civ. No. 16-00543 JMS-KJM, Order:
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 Sentence By A Person In Federal Custody, ECF No. 433; and (2) Denying A Certificate Of
 Appealability




                                             12
